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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE PLUG POWER, INC. SECURITIES       No. 1:21-cv-2004-ER
LITIGATION
                                        JURY TRIAL DEMANDED




          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
          FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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        1.       Lead Plaintiff Manfred Schumacher (“Lead Plaintiff”), by and through his

undersigned counsel, alleges the following upon information and belief, except as to those

allegations concerning the Lead Plaintiff certification, which are alleged upon personal

knowledge. Lead Plaintiff’s information and belief is based upon, among other things, Lead

Counsel’s investigation, which includes without limitation, review and analysis of filings with

the United States Securities and Exchange Commission (“SEC”), press releases, news articles,

and analyst reports. Lead Plaintiff believes that additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

   I.         INTRODUCTION

        2.       Plug Power is a publicly traded company with common stock listed on the

NASDAQ and is subject to the requirements of the Securities Exchange Act of 1934 (the

“Exchange Act”).

        3.       Lead Plaintiff seeks to recover damages caused by Defendants’ violations of

Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

        4.       This securities fraud class action is on behalf of a class of all persons who

purchased Plug Power Inc. (“Plug Power”) common stock on the open market of a U.S. stock

exchange between November 9, 2020 and March 16, 2021, inclusive (the “Class Period”), and

were damaged thereby (the “Class”).

        5.       Plug Power provides comprehensive hydrogen fuel cell turnkey solutions focused

on systems used to power electric motors in the electric mobility and stationary power markets.

Plug Power primarily provides fuel cells for forklifts operating in warehouses of some of the

world’s largest retail-distribution and manufacturing businesses, including Amazon, Walmart,

and Home Depot.


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        6.       A large part of Plug Power’s revenue comes from delivering hydrogen fuel to

customers of its hydrogen fuel cells, for which revenue is then offset by the costs of delivering

the fuel.

        7.       Prior to and during the Class Period, the Defendants reported that though Plug

Power’s fuel delivery costs were high, the Company was able to turn a profit and have positive

EBITDA.

        8.       As the Company touted its growing profitability, the stock price of Plug Power’s

common stock inflated to record highs.

        9.       The Defendants took advantage of the inflated stock price by selling Plug Power

stock for tens of millions of dollars of insider sales. Defendant Andrew Marsh capitalized on the

Company’s inflated stock price by selling 43% of his holdings for approximately $37.7 million,

when Plug Power’s common stock price was at its peak and just six weeks from announcing its

need to restate years of financial statements. Defendant Paul Middleton also profited by netting

approximately $7.6 million from insider sales during the Class Period.

        10.      The Company raised over $3.5 billion from investors to support its capital-

intensive business (including the largest bought deal in the cleantech sector and the most

lucrative capital raise in the Company’s 24-year history) by relying on its inflated financial

results from the fiscal years (“FY”) 2018, 2019, and 2020.

        11.      Unbeknownst to investors, however, was the fact that Defendants were hiding

even higher fuel delivery costs as research and development expenses. This misclassification

shielded millions of dollars in fuel costs from negatively impacting cost of revenue and profits,

and made Plug Power’s business model appear to be a success. The misclassification also

negatively impacted EBITDA reported during 2020 because restating the fuel delivery costs

increased the loss accruals required for Plug Power’s extended maintenance contracts.



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       12.     It was not until a change in auditors that the Company had to admit that it may

need to restate its financial results for FY2018, FY2019, and for results reported during FY2020.

       13.     On March 2, 2021, just weeks after Defendants completed a colossal sale of

shares to the largest energy provider in South Korea, Defendants conducted a secondary public

offering, and Defendant Marsh executed incredibly lucrative insider trading sales, Plug Power

filed a Notification of Late Filing with the SEC. Plug Power stated that it could not timely file

its 2020 Form 10-K because the Company was completing a “review and assessment of the

treatment of certain costs with regards to classification between research and development versus

costs of goods sold, the recoverability of right of use assets associated with certain leases, and

certain internal controls over these and other areas.” The Company also stated that “[i]t is

possible that one or more of these items may result in charges or adjustments to current and/or

prior period financial statements.”

       14.     On this news, the Company’s stock price fell $3.68, or 7%, to close at $48.78 per

share on March 2, 2021, on unusually heavy trading volume, thereby damaging investors.

       15.     On March 16, 2021, Plug Power revealed that the Company needed to restate its

prior financial results for FY2018 and FY2019 and quarterly filings for 2019 and 2020 (the

“Previously Issued Financial Statements”). Pug Power informed investors that the Company’s

Previously Issued Financial Statements could not be relied upon and that the Company expected

to revise the accounting for the Previously Issued Financial Statements, including reclassifying

certain research and development expenses as costs of revenue—directly reducing the

Company’s gross profits, and disclosed a material weakness in the Company’s internal controls

over financial reporting.




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          16.     As a result of this news, the price of Plug Power’s stock fell $3.35 per share to

close at $39.33 per share on March 17, 2021, a decline of over 7.8%, thereby causing further

damages to investors.

          17.     Ultimately, Plug Power admitted that its prior representations about its gross

profit and EBITDA were materially false when it restated those metrics from positive profits to

gross losses with negative EBITDAs for results touted during the Class Period.

          18.     One analyst summed up the fuel delivery restatement as inexcusable and

shocking, while noting there was no justification to classify fuel costs as research and

development expenses except to intentionally overstate the value of Plug Power’s business.

    II.         JURISDICTION AND VENUE

          19.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

          20.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

          21.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this judicial district.

          22.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of national securities

exchanges.




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   III.         THE PARTIES

          23.     Lead Plaintiff, as set forth in the certification provided herewith, purchased Plug

Power common stock during the Class Period and suffered damages as a result of Defendants’

federal securities law violations.

          24.     Defendant Plug Power is incorporated under the laws of Delaware with its

principal executive offices located in Latham, New York. At all relevant times, the Plug Power

common stock was listed on the NASDAQ exchange in New York, NY under the symbol

“PLUG.”

          25.     Defendant Andrew Marsh (“Marsh”) is the Company’s CEO, President, and a

member of its board of directors. Defendant Marsh has been CEO of the Company since April of

2008 and was its CEO throughout the entirety of the Class Period. Defendant Marsh signed the

Company’s Annual Reports on Form 10-K for the fiscal years 2016-2019, Quarterly Report on

Form 10-Q for the third quarter of FY2020 and letters to shareholders dated November 9, 2020

and February 25, 2021, which reported Plug Power’s financial results for the third and fourth

quarter of FY2020, respectively.

          26.     Defendant Paul B. Middleton (“Middleton”) is the Company’s CFO. Defendant

Middleton has been the CFO of the Company since 2014 and was its CFO throughout the

entirety of the Class Period. Defendant Middleton signed the Company’s Annual Reports on

Form 10-K for the fiscal years 2016-2019, Quarterly Report on Form 10-Q for the third quarter

of FY2020 and letters to shareholders, dated November 9, 2020 and February 25, 2021, which

reported Plug Power’s financial results for the third and fourth quarter of FY2020, respectively.

          27.     Defendants Marsh and Middleton (collectively, the “Individual Defendants”), by

virtue of their high-level positions with Plug Power, possessed the power and authority to control

the contents of the Company’s reports filed with the SEC, and public statements, including


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Company-issued press releases, letters to shareholders, and presentations to securities analysts,

money and portfolio managers, and investors. The Individual Defendants were provided with

copies of the Company’s reports and letters to shareholders alleged herein to be misleading prior

to, or shortly after, their issuance and had the ability and opportunity to prevent their issuance or

cause them to be corrected, including to disclose all material information omitted from those

disclosures, as alleged herein. Because of their positions and access to material, non-public

information, each of the Individual Defendants knew that the adverse facts specified herein had

not been disclosed to, and were being concealed from, the public, and that the positive

representations being made were then materially false and/or misleading.

         28.     Defendant Plug Power and the Individual Defendants are collectively referred to

as “Defendants.”

   IV.         SUBSTANTIVE ALLEGATIONS

          A. Plug Power’s Hydrogen Fuel Cell Business

         29.     Plug Power was formed in 1997 and provides comprehensive hydrogen fuel cell

(HFC) turnkey solutions focused on systems used to power electric motors in the electric

mobility and stationary power markets.

         30.     Plug Power sells itself as building the hydrogen economy by serving as the

leading provider of HFC turnkey solutions amid an ongoing paradigm shift in the power, energy,

and transportation industries to address climate change and energy security, while providing

efficiency gains and meeting sustainability goals. Plug Power created the first commercially

viable market for HFC technology. As a result, the Company has deployed over 40,000 fuel cell

systems for e-mobility, more than anyone else in the world, and has become the largest buyer of

liquid hydrogen, having built and operated a hydrogen highway across North America.




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        31.    Plug Power’s business evolved into developing and selling commercially viable

hydrogen and fuel cell product solutions, also known as GenDrive, to replace lead-acid batteries

in electric material handling vehicles for some of the world’s largest retail-distribution and

manufacturing businesses, including Amazon, Walmart, and Home Depot.                  This business

primarily consists of providing fuel cells for forklifts and ground support equipment operating in

the warehouses of large customers with 24/7/365 operations and high equipment usage.

        32.    Plug Power is a capital-intensive business, requiring cash infusions to bring its

technology to the market.

        33.    Due to Plug Power’s efforts to expand and diversify, the Company’s cash usage

accelerated to new all-time highs by FY2020.

                         Cash Usage – FY2012-FY2020 (In Millions)

               FY2020            FY2019           FY2018         FY2017           FY2016

Operating      $156.31           $51.52           $57.62         $60.18           $29.64
Activities

Investing      $95.33            $14.24           $19.57         $44.36           $58.08
Activities

Total          $251.64           $65.76           $77.19         $104.54          $87.72



         B. Tracking Research and Development Expenses and Fuel Costs Were Critical
            to Plug Power’s Business

        34.    As the fuel cell industry is still in the early state of adoption, Plug Power’s ability

to compete successfully is heavily dependent on its ability to raise capital, ensure a continual and

timely flow of competitive products, services, and technologies to the marketplace. According to

Plug Power’s 2020 Annual Report filed with the SEC on Form 10-K, the Company must

“continue to develop new products and technologies and to enhance existing products in the



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areas of cost, size, weight, and in supporting service solutions in order to drive further

commercialization.”

       35.     Financial Accounting Standards Board (FASB) No.2 defines Research and

Development as follows:

       Research is planned search or critical investigation aimed at discovery of new
       knowledge with the hope that such knowledge will be useful in developing a new
       product or service (hereinafter “product”) or a new process or technique
       (hereinafter “process”) or in bringing about a significant improvement to an
       existing product or process.

       Development is the translation of research findings or other knowledge into a plan
       or design for a new product or process or for a significant improvement to an
       existing product or process whether intended for sale or use. It includes the
       conceptual formulation, design, and testing of product alternatives, construction
       of prototypes, and operation of pilot plants. It does not include routine or periodic
       alterations to existing products, production lines, manufacturing processes, and
       other on-going operations even though those alterations may represent
       improvements and it does not include market research or market testing activities.

       36.     Under the Generally Accepted Accounting Principles (GAAP), codified by the

FASB, whenever a company spends any funds on research and development activities, it records

those costs as an expense in the period incurred.

       37.     A company’s research and development expenses are included in the company’s

operating expenses and are usually reflected in its income statement.          A company’s total

operating expenses is used to calculate its operating income by subtracting it from the gross

profit. This is opposed to the direct costs of producing, distributing, or marketing the goods sold

by a company (cost of goods sold) or cost of revenue, which directly contributes to a company’s

gross profit. A company’s gross profit is computed by subtracting a company’s total cost of

revenue from the company’s total revenue.

       38.     The Company advised investors that “[r]esearch and development expense

includes: materials to build development and prototype units, cash and non-cash compensation



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and benefits for the engineering and related staff, expenses for contract engineers, fees paid to

consultants for services provided, materials and supplies consumed, facility related costs such as

computer and network services, and other general overhead costs associated with our research

and development activities.”

        39.     Defendants knew or recklessly disregarded that research and development

expenses do not include the costs of fuel delivered to customers, which are reported separately

by Plug Power.

        40.     The Company’s 2018 and 2019 Annual Reports filed with the SEC on Form 10-K

highlighted fuel delivered to customers as one of the “primary sources” of revenue along with

the related costs for the Plug Power for which it reported the corresponding cost of revenue and

gross (loss) profit.

        41.     The Company described the cost of revenue involved for fuel delivered to

customers while disclosing the results of operations. The FY2018 10-K and FY2019 10-K stated

that the “[c]ost of revenue from fuel delivered to customers represents the purchase of hydrogen

from suppliers that ultimately is sold to customers. As part of the GenKey solution, the

Company contracts with fuel suppliers to purchase liquid hydrogen and separately sells it to its

customers when delivered or dispensed.”

        42.     According to the FY2019 10-K, the “[c]ost of revenue from fuel delivered to

customers for the year ended December 31, 2019 increased $8.6 million, or 31.2%, to $36.4

million from $27.7 million for the year ended December 31, 2018. The increase was due

primarily to higher volume of liquid hydrogen delivered to customer sites as a result of an

increase in the number of hydrogen installations completed under GenKey agreements and

higher fuel costs.”




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         43.      According to the FY2018 10-K, the “[c]ost of revenue from fuel delivered to

customers for the year ended December 31, 2018 increased $5.7 million, or 25.9%, to $27.7

million from $22.0 million for the year ended December 31, 2017. The increase is due primarily

to higher volume of liquid hydrogen delivered to customer sites as a result of an increase in the

number of hydrogen installations completed under GenKey agreements and higher fuel costs.”

         44.      The cost of fuel delivered was a major drag on the Company’s net revenue and

ability to profit. Defendants tracked and reported the cost of fuel delivered in the Company’s

financial statements throughout the Class Period.

         45.      The cost of fuel also affected Plug Power’s loss accruals for extended

maintenance contracts, a type of cost of revenue. Increases in cost of fuel negatively impacted

EBITDA because that increased the loss accruals required for Plug Power’s extended

maintenance contracts which directly reduced the Company’s operating income.

           C. Plug Power Extols Its Newfound Profitability

         46.      In Plug Power’s twenty-four-year history, the Company has never generated an

operating profit.1

         47.      In FY2018 and FY2019, Plug Power was able to generate gross profits of $2.62

million and $27.97 million, respectively, in consecutive years for the first time in a decade.

         48.      For FY2020, the Company advised investors that EBITDA was an important

metric to value the Company and that Plug Power relied on “Adjusted EBITDA” as “a basis for

evaluating the Company’s performance as well as for forecasting future periods.” 2



1
 Operating Profit is a company’s gross profits, less operating expenses, depreciation, and amortization. Gross
profits are a company’s revenue, less the cost of goods sold (“COGS”).
2
  The Company defined Adjusted EBITDA as “operating income (loss), plus stock-based compensation, plus
depreciation and amortization, plus right-of-use asset depreciation and interest associated with PPA financings, plus
restructuring and other non-recurring charges.”



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       49.    On January 30, 2020, during a business update conference call, Defendant Marsh

lauded that “2019 was really a breakout year for Plug Power, EBITDA-positive for the year.”

Defendant Middleton underscored this result and stated the Company “has now crossed a

milestone in breaking into breakeven to positive EBITDAs and projecting that this year we're

going to be moving in directionally north in the right way. That gets investors and the debt

providers excited.” Defendant Marsh further provided a financial target for 2020 of “adjusted

EBITDA of $20 million, a $20 million improvement over our 2019 goal” and reiterated the

Company’s goals of $1 billion in gross billings, $200 million in EBITDA and $170 million in

operating income by 2024.

       50.    In a letter to shareholders, dated March 5, 2020, containing Plug Power’s

financial results for the fourth quarter of FY2019, the Company previewed its year-end results

for FY2019 which it described as the “best year in the Company’s history – setting the stage for

meaningful growth in 2020 and beyond.” The Company achieved this “milestone breakthrough

year with [its] first positive adjusted EBITDA” in the Company’s history. Specifically, the

Company netted an adjusted EBITDA of $10.9 million. During the Company’s earnings call that

same day, Defendant Marsh described FY2019 as a “record year”.

       51.    In a letter to shareholders, dated May 5, 2020, containing Plug Power’s financial

results for the first quarter of FY2020, the Company noted that it had achieved a $6.1 million

Adjusted EBITDA, a “30% improvement” from the first quarter of FY2019.              During the

Company’s earnings call that same day, Defendant Marsh reiterated the Company’s “guidance of

$300 million in gross bookings for the year and $20 million in EBITDA” and the Company’s

2024 goals of $200 million in EBITDA and $170 million in operating income.




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       52.     On August 6, 2020, during Plug Power’s earnings call for the second quarter of

FY2020, Defendant Marsh stated that the Company “had a record quarter in the middle of the

pandemic, achieving over $72 million in gross billings and $1 million in EBITDA.” Defendant

Marsh added that with the Company’s “success this year with rapid growth in gross billings and

EBITDA, a move into green hydrogen, that’s provided us a clear path to achieve $1.2 billion in

revenue and $250 million in EBITDA in 2024.”

       53.     On November 9, 2020, during Plug Power’s earnings call for the third quarter of

FY2020, Defendant Marsh commended the Company’s “operational performance” and

highlighted that it “achieved 19% EBITDA on an adjusted basis this past quarter, generating

$21.2 million of adjusted EBITDA.”

       54.     During the same call, Moses Sutton, an analyst from Barclays, asked whether

Defendants could provide the market with adjusted EBITDA guidance for 2021. Defendant

Marsh responded that while the Company has not provided the market with a specific adjusted

EBITDA guidance range yet for 2021, that “it will definitely be higher [than 2020]” and that the

Company is “very confident that we’ll continue to be accretive and go up.” Defendant Marsh

stated they would be in a better position to provide guidance during the Company’s January

business update call.

         D. Plug Power Raises $1 Billion from Investors through a Secondary Public
            Offering at a Price of $22 Per Share Based on Overstated Financial Statements

       55.     On December 2, 2019, Plug Power filed an Automatic Shelf Registration

Statement that would allow the Company to make multiple offerings of its securities at

unspecified times in the future without having to file a new registration statement for each

offering (the “Shelf Registration Statement”).     The Shelf Registration Statement became

effective on December 2, 2019.



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       56.      On November 16, 2020, the Company issued two press releases announcing an

impending secondary public offering ($750,000 of its common stock) and its pricing ($22.25 per

share). Both press releases directed investors to rely on the prospectus supplement related to the

offering, as well as the Company’s previous financial statements incorporated therein and filed

with the SEC.

       57.      On November 18, 2020, Plug Power filed a prospectus pursuant to Rule

424(b)(2), in connection with the Shelf Registration Statement, offering 38 million shares of its

common stock at a price to the public of $22.25 per share (the “November Prospectus”). The

Company also granted the underwriters a 30-day option to purchase up to an additional

5,700,000 shares.

       58.      Among other things, the November Prospectus disclosed a summary of selected

consolidated financial data. This included financial data for the fiscal years of 2017, 2018 and

2019 as well as unaudited financial data for the nine months ended September 30, 2020.

       59.      In connection with FY2017, the November Prospectus stated that the Company

netted a gross (loss) profit of ($28.09) million and incurred $28.69 million in research and

development expenses.

       60.      In connection with FY2018, the November Prospectus stated that the Company

netted a gross profit of $2.62 million and incurred $27.71 million in costs related to fuel

delivered to customers and $33.91 million in research and development expenses.

       61.      In connection with FY2019, the November Prospectus stated that the Company

netted a gross profit of $27.97 million and incurred $36.36 million in costs related to fuel

delivered to customers and $33.68 million in research and development expenses.




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         62.    In connection with the nine months ended September 30, 2020, the November

Prospectus stated that the Company netted a gross (loss) profit and operating (loss) income of

($.69) million and ($79.77) million, respectively, and incurred $4.31 million in costs related to

provision for loss contracts related to service, $32.27 million in costs related to fuel delivered to

customers, and $32.13 million in research and development expenses.

         63.    The November Prospectus also incorporated by reference the Annual Report on

Form 10-K for FY2019, which utilized the consolidated statements of operations data for the

years ended December 31, 2019, 2018 and 2017 and the balance sheet data as of December 31,

2019 and 2018, and the Quarterly Reports on Form 10-Q for the first three quarters of FY2020.

All of these reports contain the same financial data detailed in the aforementioned summary of

selected consolidated financial data.

         64.    On November 24, 2020, Plug Power announced that it had completed the offering

which generated approximately $1 billion in capital and marked one of the largest bought equity

deal transactions in the broader clean-tech sector and the largest capital raise in the Company’s

history. The Company further noted that “[t]he capital raise uniquely positions Plug Power to

execute and accelerate on its green hydrogen strategy as well as other strategic growth

initiatives.”

          E. Defendant Middleton Takes Advantage of Plug Power’s Inflated Stock Price
             for His Own Personal Benefit

         65.    For the majority of 2010-2019, Plug Power common stock traded below $5.00 per

share.

         66.    On December 24, 2020, 30 days after Plug Power’s $1 billion offering at $22 per

share reinforcing Plug Power’s financial results, Defendant Middleton sold 216,667 shares of his




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personally held Plug Power stock at a price of $35.1299 per share. This sale netted Defendant

Middleton proceeds of approximately $7.6 million.

         67.   Defendant Middleton’s sale was made pursuant to a Rule 10b5-1 trading plan that

was established just three months earlier in September 2020 while Defendants were reporting

false financial metrics.

         68.   In order to effectuate this sale, Defendant Middleton exercised options that were

not due to expire until 2028 and 2029 - eight to nine years before their expiration.

         69.   Defendant Middleton’s decision to exercise his options eight to nine years before

their expiration further shows that he knew Plug Power’s stock price was did not reflect Plug

Power’s true financial condition.

          F. Plug Power Gains $1.5 Billion from SK Group’s Purchase of Plug Power’s
             Common Stock

         70.   On January 6, 2021, after the close of the market, Plug Power and South Korean

company SK Group (“SK Group”), the largest energy provider in South Korea, announced their

intention to provide hydrogen fuel cell systems, hydrogen fueling stations, and electrolyzers to

the Korean and broader Asian markets through a joint venture company to be located in South

Korea.

         71.   SK Group agreed to make a $1.5 billion strategic investment in Plug Power.

Under the terms of the investment, which closed later in the first quarter of 2021, a United States

subsidiary of SK Group would make the $1.5 billion investment in Plug Power by acquiring

approximately 51.4 million shares of common stock. The investment was expected to represent

an approximate 9.9% ownership of Plug Power's issued and outstanding common stock.

         72.   Analysts regarded the SK Group partnership as a very substantial development for

Plug Power. For example, a January 7, 2021 Barclays report described this as a “landmark” deal



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for Plug Power and the “ultimate example of one of the needle-moving headlines investors

have been anticipating to drive the stock to new heights”. (Emphasis added). The Barclays

report added that “such a substantial investment from a leading conglomerate helps validate

PLUG's leading IP and potential fuel cell market share in the very long term.” Similarly, a

January 7 2021 Craig-Hallum report noted that this partnership “cements [Plug Power's] place as

a global hydrogen fuel cell leader" and "meaningfully enhances [its] growth outlook and speed of

entry into Asia.” A June 6, 2021 Cowen & Co. report described this deal as a “clearly a positive

development”, maintained Plug Power’s “outperform” rating, and raised their share price target

to $50 from $35 prior.

       73.    Following this announcement, on January 7, 2021, Plug Power's stock price

jumped 35% and closed at $47.29.

       74.    Later, on February 25, 2021, Plug Power and SK Group announced the

completion of the previously announced partnership between the two companies and investment

by SK Group in Plug Power.

       75.    SK Group paid Plug Power and acquired Plug Power’s common stock one week

before the Company disclosed on March 2, 2021 that its financial disclosures were materially

false and misleading.

         G. Defendant Marsh Sells Nearly Half His Holdings While the Stock Price Was
            Inflated

       76.    In the two weeks following the Company’s announcements of the SK Group deal,

the Company’s stock price increased by almost 90%.

       77.    On January 19, 2021, Defendant Marsh sold 573,268 shares of his personally held

Plug Power stock at prices ranging from $62.6504 to $68.3109 per share in a series of seven

transactions. Defendant Marsh’s sale was purportedly made pursuant to a Rule 10b5-1 trading



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plan that was instituted while Defendants issued materially false and misleading financial

statements.

        78.     These sales—which reduced Defendant Marsh’s holdings by 43% from 1.322

million shares to 748,680 shares—netted Defendant Marsh proceeds of approximately $37.7

million.

        79.     In order to effectuate the sale of 466,668 shares or 81% of his total shares sold on

January 19, 2021, Defendant Marsh exercised options that would not expire until 2027.

        80.     Defendant Marsh’s decision to exercise his options seven years before their

expiration further shows that he knew Plug Power’s stock price was did not reflect Plug Power’s

true financial condition.

           H. Plug Power Raises Another $2 Billion from Investors through a Secondary
              Public Offering at a Price of $65 Per Share Based on Overstated Financial
              Statements

        81.     In the week following Defendant Marsh’s insider trading sales, Plug Power itself

also sought to profit from its artificially inflated stock price.

        82.     On January 26, 2021, while Plug Power’s stock was trading at a 52-week high,

Plug Power announced that it was commencing a secondary public offering of its common stock

for $1.5 billion.

        83.     On the same day, the Company increased the amount of shares that it initially

planned to offer to 28,000,000 shares of its common stock at a price to the public of $65.00 per

share, with up to an additional 4,200,00 shares for the underwriters.

        84.     The Company issued two press releases on January 26, 2021 concerning the

commencement of the secondary public offering and its pricing. Both press releases directed

investors to rely on the prospectus related to the offering, as well as the Company’s previous

financial statements incorporated therein as filed with the SEC.


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       85.     On January 28, 2021, Plug Power filed a prospectus pursuant to Rule 424(b)(2), in

connection with the Shelf Registration Statement, offering 28,000,000 shares of its common

stock at a price to the public of $65.00 per share, with up to an additional 4,200,00 shares for the

underwriters (the “January Prospectus”).

       86.     Among other things, the January Prospectus disclosed a summary of selected

consolidated financial data containing key metrics for the Company. This included financial data

for the fiscal years of 2017, 2018 and 2019 as well as unaudited financial data for the nine

months ended September 30, 2020.

       87.     In connection with FY2017, the January Prospectus stated that the Company

netted a gross (loss) profit of ($28.09) million and incurred $28.69 million in research and

development expenses.

       88.     In connection with FY2018, the January Prospectus stated that the Company

netted a gross profit of $2.62 million and incurred $27.71 million in costs related to fuel

delivered to customers and $33.91 million in research and development expenses.

       89.     In connection with FY2019, the January Prospectus stated that the Company

netted a gross profit of $27.97 million and incurred $36.36 million in costs related to fuel

delivered to customers and $33.68 million in research and development expenses.

       90.     In connection with the nine months ended September 30, 2020, the January

Prospectus that the Company netted a gross (loss) profit and operating (loss) income of ($.69)

million and ($79.77) million, respectively, and incurred $4.31 million in costs related to

provision for loss contracts related to service, $32.27 million in costs related to fuel delivered to

customers, and $32.13 million in research and development expenses.

       91.     The January Prospectus also incorporated by reference the Annual Report on




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Form 10-K for FY2019, which utilized the consolidated statements of operations data for the

years ended December 31, 2019, 2018 and 2017 and the balance sheet data as of December 31,

2019 and 2018, and the Quarterly Reports on Form 10-Q for the first three quarters of FY2020.

All of these reports contain the same financial data detailed in the aforementioned summary of

selected consolidated financial data.

       92.     On February 9, 2021, Plug Power announced the completion of its previously

announced upsized offering of 32,200,000 shares at $65 per share with net proceeds in excess of

$2 billion. This transaction signified the largest bought deal in the cleantech sector and the third

largest follow-on primary block trade with Morgan Stanley as a sole bookrunner in any market

sector historically, as well as the most lucrative capital raise in the Company’s 24-year history.

       93.     The Proceeds announced on February 9, 2021 together with the final closing of

SK Group’s investment in the Company on February 25, 2021 tripled the Company’s total cash

balance to over $5 billion.

       94.     Analysts underscored the importance of this sizeable cash balance to Plug

Power’s growth and diversification.      For example, a January 26, 2021 J.P. Morgan report

underscored that Plug Power’s “…story keeps getting better, PLUG capitalizing on its leadership

position in Hydrogen energy and mobility solutions by nailing down customers and partners that

expand the TAM [Total Available Market], improve visibility and de-risk execution. The firm is

also capitalizing on its soaring market cap to issue shares, building a balance sheet that will

permit the company to execute its growth strategy with confidence.”

         I. Plug Power Restates Its Financial Results Touted to Investors during the Class
            Period

       95.     On March 2, 2021, before the market opened, Plug Power filed a Notification of

Late Filing with the SEC stating that it could not timely file its Annual Report on Form 10-K for



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FY2020 (the “2020 Form 10-K”) because the Company was completing a “review and

assessment of the treatment of certain costs with regards to classification between Research

and Development versus Costs of Goods Sold, the recoverability of right of use assets

associated with certain leases, and certain internal controls over these and other areas.”

(Emphasis added). The Company stated that “[i]t is possible that one or more of these items may

result in charges or adjustments to current and/or prior period financial statements” and expected

“significant changes” from its previous financial reporting for the fourth quarter of FY2020 and

full year FY2019.

       96.       After the close of trading on March 16, 2021, Plug Power issued a press release

announcing that the Company needed to restate its prior financial results for FY2018 and

FY2019 and quarterly filings for 2019 and 2020 (“Previously Issued Financial Statements”).

Specifically, the Company stated:

       In consultation with KPMG LLP, the Company’s independent registered public
       accounting firm, management and the Audit Committee of Plug Power’s Board of
       Directors determined that the Company’s Prior Period Financial Statements need
       to be restated due to errors in accounting primarily related to several non-cash
       items, including:

                The reported book value of right of use assets and related finance
                 obligations;
                Loss accruals for certain service contracts;
                The impairment of certain long-lived assets; and
                The classification of certain costs, resulting in decrease in research
                 and development expense and a corresponding increase in cost of
                 revenue.
       ….

(Emphasis added).

       97.       The press release added that the Company would not be able to file its 2020 Form

10-K by the March 16, 2021 deadline but was endeavoring to finalize the restatement of the

Previously Issued Financial Statements and file its 2020 Form 10-K as soon as possible.


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          98.    On the same day, Plug Power filed with the SEC a Current Report on Form 8-K

which stated that the Company’s Previously Issued Financial Statements for FY2018, FY 2019,

and all quarters reported in 2020 could not be relied upon and that the Company expected to

revise the accounting for the Previously Issued Financial Statements and disclose in its 2020

Form 10-K a material weakness in its internal controls over financial reporting.

          99.    Analysts immediately expressed concerns about the Company’s need for

restatements as far back as 2018.

          100.   On March 17, 2021, the next trading day following Plug Power’s announcement

that the Company needed to restate its certain of its financial results, Plug Power common stock

fell $3.35 per share, or approximately 7.8%, on unusually heavy volume.

          101.   Analysts expressed concerns about the Company’s need for restatements as far

back as 2018.

          102.   In a report issued during trading on March 18, 2021, analysts from Barclays

reviewed the causes for Plug Power’s restatements and the potential significance of each

accounting revision. Specifically, Barclays analysts were “most crucially” concerned with “the

degree to which past margin for fuel cell products are lower (if a lot of R&D moves to Cost of

Rev.).”

          103.   In the same report, Barclays analysts posited that Plug Power’s overstated

research and development expenses could have been a ploy by Defendants to inflate margins,

stating “[s]imply put, that management wanted to show higher margins on the core

hardware, the fuel cells. It has been quite impressive that margins stabilized in the mid-30%

range (off of gross billings), from the 20-25% range before 2018.” (Emphasis added).




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       104.   Additionally, Barclays analysts disagreed with Defendants’ representation that the

Company’s revisions to R&D costs would not affect Plug Power’s forecasts, stating:

       “[P]rior expectation that fuel cells were already in the mid-30% margin range
       dramatically mitigated execution risk for the 2024 and overall guidance. We only
       needed to assume 35-40% margins, or around a 500bps increase to execute on the
       needed margin targets for that line, and be on track with the 2024 AEBITDA
       margin target of 20%. If margins are close to 25% today (around ¼ to ½ shift
       of R&D), management’s targets could remain, but the execution risk is much
       greater, reflecting a necessary 1,000bps+ uplift for the next three years in GM
       (based on our calculations) in order to reach margin guidance” (Emphasis added).

       105.   On May 14, 2021, before the market opened, Plug Power announced that the

Company had completed the restatement of its Previously Issued Financial Statements and filed

its 2020 Form 10-K with the SEC. The key areas addressed were primarily the same as those

detailed in the Company’s March 16, 2021 press release.

       106.   Collectively, the adjustments as part of the restatement and finalization of the

2020 Form 10-K decreased earnings per share (“EPS”) by ($.10) for 2020.

       107.   In 2020, EPS was negatively impacted stemming from one-time non-cash charges

associated with $35 million in loss accrual provisions and a $6.4 million long-lived asset

impairment.

       108.   According to the 2020 Form 10-K, the restatement of the Previously Issued

Financial Statements corrected the following:

       (a) $112.7 million overstatement of the right of use assets related to operating
       lease liabilities at December 31, 2019, due to the Company incorrectly calculating
       the operating lease liability associated with certain sale/ leaseback transactions;

       (b) ($1.6) million understatement of benefit for loss contracts related to service on
       the Statement of operations for the year ended December 31, 2019, inclusive of
       the partial release of the 2018 accrual to the cost of services performed on fuel
       cells and related infrastructure, and a $5.3 million understatement of the provision
       for loss contracts for the year ended December 31, 2018, due to the Company not
       properly estimating the loss accrual related to extended maintenance contracts;




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       (c) $19.5 million and $21.2 million, overstatement of gross profit (loss) for the
       years ended December 31, 2019 and 2018, respectively, due to the Company
       not properly presenting certain costs related to research and development
       activities and cost of revenues;

       (d) $1.8 million recording of a deemed dividend for certain conversions of the
       Company’s Series e Convertible Preferred Stock settled in common stock during
       the year ended December 31, 2019;

       (e) The Company determined that the amount recorded to accumulated deficit as
       of January 1, 2018 for a cumulative adjustment of approximately $3.4 million was
       the correction of an error in prior lease accounting. as a result of the correction of
       this error, the $3.4 million charge to accumulated deficit is now reflected in the
       beginning accumulated deficit for the 12 months ended December 31, 2018; and

       (f) $5.3 million understatement of bonus expense and related payroll taxes for the
       three months ended September 30, 2020, due to the Company not properly
       estimating bonus expense for the nine-month period ended September 30, 2020.

(Emphasis added).

       109.    In correcting its misclassification of research and development expenses, this

resulted in a corresponding increase in the Company’s cost of revenue. The specific types of cost

of revenue that were affected by this correction included sales of fuel cell systems and related

infrastructure, services performed on fuel cell systems and related infrastructure, Power Purchase

Agreements, and, notably, fuel delivered to customers.

       110.    In addition to the fiscal years 2018 and 2019, the Company further revealed in its

2020 Form 10-K that it had improperly presented research and development expenses that should

have been classified as costs of revenue for the fiscal years 2016 and 2017 and first three

quarters of FY2020. Specifically, for FY2016, the Company misclassified $8.9 million. For

FY2017, the Company misclassified $15.2 million.           For the first quarter of FY2020, the

Company misclassified $5.5 million. For the second quarter of FY2020, the Company

misclassified $4.9 million. For the third quarter of FY2020, the Company misclassified $5.5

million.



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        111.      In total, for fiscal years 2016-2019 and the first three quarters of FY2020, Plug

Power misclassified research and development expenses by an aggregate $80.7 million or 53.2%

of the originally reported figures:

                        Research and Development Expenses (In Millions)

           (“Orig.” = Originally Reported Amount, “Restated” = Amount Misclassified)

FY2020 (Q1-Q3)             FY2019             FY2018              FY2017              FY2016

Orig.      Restated Orig.      Restated   Orig. Restated     Orig.    Restated   Orig.    Restated

$32.1      $15.9       $33.7 $19.5        33.9     $21.2     $28.69 $15.2        $21.18 $8.9

           49.5%               57.9%               62.5%              53%                 42%




        112.      Much of these research and development expenses were reclassified as a very

specific type of cost of revenue—cost of fuel delivered to customers. As part of the restatement,

the Company increased the cost of fuel delivered to customers by the following amounts: for

FY2018, $8.3 million; for FY2019, $8.9 million; for the first quarter of FY2020, $2.2 million;

for the second quarter of FY2020, $2.0 million; and for the third quarter of FY2020, $2.8

million.

        113.      In correcting its misclassification of cost of revenue as research and development

expenses, Plug Power accordingly reduced its previously reported gross profit for the fiscal years

2016-2019 and the first three quarters of FY2020.

        114.      In its 2020 Form 10-K, the Company made the following corrections to its gross

(loss) profits:




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                   Gross (Loss) Profit for FY 2016- 2020Q3 (In Millions)
                2020 Q3       2020 Q2 2020 Q1 2019           2018       2017          2016


Originally      ($1.29)       $5.08    ($4.47)    $27.97     $2.62      ($28.09)      $3.95
Stated

Restated        ($28.58)      ($.02)   ($9.70)    $10.65     ($26.00)   ($43.30)      ($4.91)




       115.    This reclassification, along with other adjustments, expunged almost all of the

Company’s gross profits since 2016, and caused nearly every reporting period to report large

gross losses except for FY2019 where the gross profit reported was cut by over 60%.

       116.    Separately, the 2020 Form 10-K also elaborated on the Company’s improper

assumptions in connection with loss accruals for certain service contacts, a type of the

Company’s cost of revenue. Specifically, the Company identified the following flaw in its

recording of loss accruals:

       The Company recorded a provision for loss accrual during 2020 of $35.5 million,
       an increase of $35.9 million over the net benefit for loss contracts related to
       service recorded in 2019 of $394 thousand (as restated). The increase in the
       provision for loss accrual during 2020 was driven primarily by an increase in
       estimated projected costs to service units and an increase in the number of service
       contracts during 2020. The Company determined during 2020, based on historical
       experience, that certain cost down initiatives were taking longer to achieve than
       originally estimated. As a result, the Company increased its estimated projected
       costs to service fuel cell systems and related infrastructure.

       …

       The Company did not properly estimate the loss accrual related to its extended
       maintenance contracts. As a result of the error in classification of research and
       development costs discussed below, the Company did not consider all relevant
       historical costs when estimating future service costs when determining whether a
       loss accrual for extended maintenance contracts was necessary. Additionally, the
       Company did not consider the service costs related to hydrogen infrastructure, nor
       the provision for warrants, when estimating the need for a loss accrual on
       extended maintenance contracts. When properly considering these costs,
       additional loss accruals for extended maintenance contracts were required to be


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        recorded. When properly considering these costs, additional loss accruals for
        extended maintenance contracts were required to be recorded. The corrections
        resulted in a ($1.6) million benefit for loss accrual for the year ended December
        31, 2019, inclusive of the partial release of the 2018 loss accrual, and a provision
        for loss accrual of $5.3 million for the year ended December 31, 2018.
        117. The 2020 Form 10-K further revealed that most of the $35.5 million loss accrual

for FY2020 was generated by the Company understating the provision for loss contracts related

to service during the third quarter of that year by $20.8 million.3                   This loss accrual was

understated because the Company misclassified fuel delivered to customers as a research and

development expense instead of as a cost of revenue. This directly caused the Company’s

operating income to decrease by $20.8 million.

        118.     The 2020 Form 10-K stated that Plug Power’s management, including the

Individual Defendants, under the oversight of the Company’s board of directors, conducted an

evaluation of the effectiveness of the Company’s internal control over financial accounting.

Based on this evaluation, the Company’s management concluded that, as of December 31, 2020,

the Company’s internal control over financial reporting was not effective because of certain

material weaknesses. Specifically, Company’s management identified the following deficiency

in internal control over financial reporting as of December 31, 2020:

        The Company did not maintain a sufficient complement of trained,
        knowledgeable resources to execute their responsibilities with respect to internal
        control over financial reporting for certain financial statement accounts and
        disclosures. As a consequence, the Company did not conduct an effective risk
        assessment process that was responsive to changes in the Company’s operating
        environment and did not design and implement effective process-level controls
        activities in the following areas: presentation of operating expenses; accounting
        for lease-related transactions; identification and evaluation of impairment, loss-
        contract accrual, certain expense accruals, and deemed dividends; and timely
        identification of adjustments to physical inventory in interim periods.

        119.     The 2020 Form 10-K further provided that “these deficiencies resulted in material

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 For the nine months ended September 30, 2020, the Company overstated the provision for loss contracts related to
service by $21.6 million.



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misstatements that were identified and corrected in the consolidated financial statements as of

and for each of the three years in the period ended December 31, 2020 and other historical

periods….”

        120.    The 2020 Form 10-K also detailed the Company’s financial results for FY2020.

The Company stated that the Company’s research and development expenses were $27.85

million, provision for loss contracts related to service was $35.47 million, fuel delivered to

customers was $61.82 million for this cost of revenue, gross (loss) profit was ($469.42) million,

and operating (loss) income was ($584.20) million.

        121.    The 2020 Form 10-K was signed by the Individual Defendants.

        122.    On May 14, 2021, after the details of Plug Power’s restatement were revealed,

Plug Power’s common stock increased $2.62, or approximately 12%, indicating that the market

had already priced in the impact of the Company’s restatement.

        123.    On May 16, 2021, Barclays analysts issued a report stating that their concerns

regarding R&D expenses and their impact on the Company’s gross margin had been realized.

Specifically, the report stated:

        [O]ur biggest concern was that sizable R&D shifts to COGS, rendering realized
        GM much lower and shifting 2024 AEBITDA guidance into more of an
        aspirational position rather than reliable targets from today’s vantage point. This
        proved true – PLUG’s run rate adj. GM is closer to mid-teens vs. mid-20s implied
        prior.

        124.    Barclays analysts were perplexed by the reclassification of fuel costs, a line item

specifically broken out in the Company’s financial statements, from research and development

expenses to cost of goods sold, stating the change “surprised us, as it’s unclear how fuel

could’ve ended up erroneously in R&D.” (Emphasis added).

        125.    Barclays’ May 16, 2021 analyst report further stated that the amount of the




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reclassification of service and fuel costs reclassified from R&D to cost of goods sold “does

reflect a level closer to a severe downside case … [and] raises fresh concerns.”

        126.   The same report notes that Barclays is “[q]uestioning what margins look like now,

near and long term” and that their outlook for Plug Power moving forward is negatively

impacted due to the downward revision to gross margin caused by the Company’s restatements,

highlighting that “[i[n the past we had pointed to strong gross margin across select business

segments as indicators of PLUG’s R&D efforts paying off, specifically fuel cells. This proved

untrue and there is now increased execution risk and lesser clarify on the potential for a

dramatic margin improvement narrative playing out.” (Emphasis added).

   V.      DEFENDANTS’ FALSE STATEMENTS OF MATERIAL FACTS

         A. The November 9, 2020 False Statements

        127.   On November 9, 2020, Plug Power reported its third quarter 2020 financial results

in a letter to shareholders signed by the Individual Defendants, which was Posted on Plug

Power’s website and attached to a Current Report on Form 8-K filed with the SEC on that same

day (the “3Q2020 Letter to Shareholders”). Therein, the Company falsely stated, in relevant

part: “We … report that the proforma Adjusted EBITDA margin in Q3 2020 of 19%, ….”

        128.   The 3Q2020 Letter to Shareholders falsely stated that the Company had achieved

a proforma Adjusted EBITDA of $24 million during that quarter.

        129.   On November 9, 2020, Plug Power filed its Quarterly Report on Form 10-Q for

the third quarter of FY2020 (“3Q2020 Form 10-Q”), which was signed by the Individual

Defendants.

        130.   The 3Q2020 Form 10-Q falsely stated that research and development expenses

were $11.96 million.

        131.   The 3Q2020 Form 10-Q falsely stated that the Company’s provision for loss


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contracts related to service was $4.31 million for this cost of revenue.

        132.   The 3Q2020 Form 10-Q falsely stated that the Company incurred a gross (loss)

profit of ($1.29) million and an operating (loss) income of ($27.53) million.

        133.   The financial metrics represented in ¶¶ 128-132 were materially false and

misleading when made because Defendants knew or recklessly disregarded that (a) material

amounts of the Company’s fuel delivery costs were being reported as research and development

expenses in violation of the Company’s accounting policy and thereby inflating reported gross

profits and (b) booking fuel delivery costs as research and development expenses allowed the

Company to understate the loss accrual related to its extended maintenance contracts thereby

inflating reported gross profits and EBITDA. (See ¶¶ 163-198; ¶¶ 110-117). The Company later

admitted the financial metrics in ¶¶ 128-132 were materially false when restating these metrics.

(See ¶¶ 110-117).

        134.   The 3Q2020 Form 10-Q also falsely claimed that the Company’s “disclosure

controls and procedures are effective[.]” In particular, the 3Q2020 Form 10-Q stated, in relevant

part:

        Item 4 — Controls and Procedures

        (a) Disclosure Controls and Procedures

                The chief executive officer and chief financial officer, based on their
        evaluation of disclosure controls and procedures (as defined in Exchange Act
        Rules 13a-15(e) and 15d-15(e)) as of the end of the period covered by this
        Quarterly Report on Form 10-Q, have concluded that the Company’s disclosure
        controls and procedures are effective for ensuring that information required to
        be disclosed in the reports that it files or submits under the Exchange Act is
        recorded, processed, summarized and reported within the time periods specified in
        the Commission’s rules and forms. Disclosure controls and procedures include,
        without limitation, controls and procedures designed to ensure that information
        required to be disclosed in filed or submitted reports is accumulated and
        communicated to the Company’s management, including its principal executive
        officer and principal financial officer as appropriate, to allow timely decisions



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       regarding required disclosure.


Emphasis added.

       135.     The representations that the Company’s disclosure controls and procedures were

effective were materially false and misleading when made because Defendants knew or

recklessly disregarded that (a) material amounts of the Company’s fuel delivery costs were being

reported as research and development expenses in violation of the Company’s accounting policy

and thereby inflating reported gross profits and (b) booking fuel delivery costs as research and

development expenses allowed the Company to understate the loss accrual related to its extended

maintenance contracts thereby inflating reported gross profits and EBITDA. (See ¶¶ 163-198; ¶¶

110-117).     The Company later admitted its financial reporting was materially false when

restating its financial results. (See ¶¶ 110-117). Defendants also admitted that there were

material weaknesses in its internal controls over financial reporting, inter alia, specifically that

Plug Power “did not maintain a sufficient complement of trained, knowledgeable resources to

execute their responsibilities with respect to internal control over financial reporting for certain

financial statement accounts and disclosures” and “[a]s a consequence, the Company did not

conduct an effective risk assessment process that was responsive to changes in the Company’s

operating environment and did not design and implement effective process-level controls

activities” in connection with “presentation of operating expenses” and “loss-contract accrual” (¶

118); and the Company admitted that, as a result of the foregoing, it could not timely file its

Form 10-K and needed to restate its Previously Issued Financial Statements, including the

quarterly report for the third quarter of FY2020 (¶¶ 96-97).




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         B. The November 18, 2020 False Statements

       136.    On November 18, 2020, Plug Power filed the November Prospectus with the

SEC. Therein, the Defendants provided investors with a summary of selected consolidated

financial data as well as incorporated by reference financial data from the Annual Report on

Form 10-K for FY2019 and the Quarterly Reports on Form 10-Q for the first three quarters of

FY2020. This included financial data for the fiscal years of 2017, 2018 and 2019 as well as

financial data for the nine months ended September 30, 2020.

       137.    The November Prospectus falsely stated that for FY2017, the Company netted a

gross (loss) profit of ($28.09) million and incurred $28.69 million in research and development

expenses.

       138.    The November Prospectus falsely stated that for FY2018, the Company netted a

gross profit of $2.62 million and incurred $27.71 million in costs related to fuel delivered to

customers and $33.91 million in research and development expenses.

       139.    The November Prospectus falsely stated that for FY2019, the Company netted a

gross profit of $27.97 million and incurred $36.36 million in costs related to fuel delivered to

customers and $33.68 million in research and development expenses.

       140.    The November Prospectus falsely stated that for the nine months ended

September 30, 2020, the Company netted a gross (loss) profit and operating (loss) income of

($.69) million and ($79.77) million, respectively, and incurred $4.31 million in costs related to

provision for loss contracts related to service, $32.27 million in costs related to fuel delivered to

customers, and $32.13 million in research and development expenses.

       141.    The financial metrics represented in ¶¶ 59-63 were materially false and

misleading when made because Defendants knew or recklessly disregarded that (a) material

amounts of the Company’s fuel delivery costs were being reported as research and development


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expenses in violation of the Company’s accounting policy and thereby inflating reported gross

profits and (b) booking fuel delivery costs as research and development expenses allowed the

Company to understate the loss accrual related to its extended maintenance contracts thereby

inflating reported gross profits and operating income. (See ¶¶ 163-198; ¶¶ 107-117). The

Company later admitted the financial metrics in ¶¶ 59-63 were materially false when restating

these metrics. (See ¶¶ 107-117).

         C. The January 28, 2021 False Statements

       142.    On January 28, 2021, Plug Power filed the January Prospectus. Therein, the

Defendants disclosed, in relevant part, a summary of selected consolidated financial data as well

as incorporated by reference financial data from the Annual Report on Form 10-K for FY2019

and the Quarterly Reports on Form 10-Q for the first three quarters of FY2020. This included

financial data for the fiscal years of 2017, 2018 and 2019 as well as unaudited financial data for

the nine months ended September 30, 2020.

       143.    The January Prospectus falsely stated that for FY2017, the Company netted a

gross (loss) profit of ($28.09) million and incurred $28.69 million in research and development

expenses.

       144.    The January Prospectus falsely stated that for FY2018, the Company netted a

gross profit of $2.62 million and incurred $27.71 million in costs related to fuel delivered to

customers and $33.91 million in research and development expenses.

       145.    The January Prospectus falsely stated that for FY2019, the Company netted a

gross profit of $27.97 million and incurred $36.36 million in costs related to fuel delivered to

customers and $33.68 million in research and development expenses.

       146.    The January Prospectus falsely stated that for the nine months ended September

30, 2020, the Company netted a gross (loss) profit and operating (loss) income of ($.69) million


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and ($79.77) million, respectively, and incurred $4.31 million in costs related to provision for

loss contracts related to service, $32.27 million in costs related to fuel delivered to customers,

and $32.13 million in research and development expenses.

       147.    The financial metrics represented in ¶¶ 87-91 were materially false and

misleading when made because Defendants knew or recklessly disregarded that (a) material

amounts of the Company’s fuel delivery costs were being reported as research and development

expenses in violation of the Company’s accounting policy and thereby inflating reported gross

profits and (b) booking fuel delivery costs as research and development expenses allowed the

Company to understate the loss accrual related to its extended maintenance contracts thereby

inflating reported gross profits and operating income.      (See ¶¶ 163-198; ¶¶ 110-117). The

Company later admitted the financial metrics in ¶¶ 87-91 were materially false when restating

these metrics. (See ¶¶ 107-117).

         D. The February 25, 2021 False Statements

       148.    On February 25, 2021, Plug Power released its fourth quarter and full year 2020

financial results in a letter to shareholders, signed by the Individual Defendants, which was

Posted on Plug Power’s website and attached to a Current Report on Form 8-K filed with the

SEC on that same day (the “4Q2020 Letter to Shareholders”).

       149.    The 4Q2020 Letter to Shareholders falsely stated that the Company’s research and

development expenses were $18.89 million and $51.02 million for the fourth quarter of FY2020

and the entirety of FY2020, respectively.

       150.    The 4Q2020 Letter to Shareholders falsely stated that the Company’s provision

for loss contracts related to service was $0.7 million and $5.01 million for this cost of revenue

for the fourth quarter of FY2020 and the entirety of FY2020, respectively.

       151.    The 4Q2020 Letter to Shareholders falsely stated that the Company’s fuel


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delivered to customers was $18.46 million and $50.73 million for this cost of revenue for the

fourth quarter of FY2020 and the entirety of FY2020, respectively.

         152.   The 4Q2020 Letter to Shareholders falsely stated that the Company incurred a

gross (loss) profit of ($422.69) million and ($423.34) million for the fourth quarter of FY2020

and the entirety of FY2020, respectively.

         153.   The 4Q2020 Letter to Shareholders falsely stated that the Company incurred an

operating (loss) income of ($470.5) million and ($550.26) million for the fourth quarter of

FY2020 and the entirety of FY2020, respectively.

         154.   The financial metrics represented in ¶¶ 149-153 were materially false and

misleading when made because Defendants knew or recklessly disregarded that (a) material

amounts of the Company’s fuel delivery costs were being reported as research and development

expenses in violation of the Company’s accounting policy and thereby inflating reported gross

profits and (b) booking fuel delivery costs as research and development expenses allowed the

Company to understate the loss accrual related to its extended maintenance contracts thereby

inflating reported gross profits and operating income. (See ¶¶ 163-198; ¶ 120). The Company’s

later filed 2020 Form 10-K also revealed that the financial metrics in ¶¶ 149-153 were materially

false when restating these metrics. (See ¶ 120).

   VI.      THE TRUTH EMERGES

         155.   The first disclosure to investors that Defendants issued materially false and

misleading statements was on March 2, 2021, before the market opened, when Plug Power filed

a Notification of Late Filing with the SEC stating that it could not timely file its Annual Report

on Form 10-K for FY2020 (the “2020 Form 10-K”) because the Company was completing a

“review and assessment of the treatment of certain costs with regards to classification between

research and development versus costs of goods sold, the recoverability of right of use assets


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associated with certain leases, and certain internal controls over these and other areas.”

(Emphasis added). The Company stated that “[i]t is possible that one or more of these items may

result in charges or adjustments to current and/or prior period financial statements” and expected

“significant changes” from its previous financial reporting for the fourth quarter of FY2020 and

full year FY2019. Specifically, the Company stated:

       For the year ended December 31, 2020, Plug Power Inc. (the “Company”) became
       a large accelerated filer for the first time and, as a result, the Company has a
       shortened filing deadline of 60 days rather than 75 days to file its Annual Report
       on Form 10-K for the year ended December 31, 2020 (the “Form 10-K”). The
       Company requires additional time to complete the procedures relating to its year
       end reporting process, including the completion of the Company’s financial
       statements and procedures relating to management’s assessment of the
       effectiveness of internal controls, and the Company is therefore unable to file the
       Form 10-K by March 1, 2021, the prescribed filing due date. The Company is
       working diligently to complete the necessary work, including review and
       assessment of the treatment of certain costs with regards to classification
       between Research and Development versus Costs of Goods Sold, the
       recoverability of right of use assets associated with certain leases, and certain
       internal controls over these and other areas. It is possible that one or more of
       these items may result in charges or adjustments to current and/or prior period
       financial statements. The Company is still evaluating whether any such charges
       or adjustments would be required and, if required, whether any such charges or
       adjustments would be material; but any charges, if required, would be non-cash in
       nature and any such adjustments or charges would not impact the Company’s
       guidance on forward projections. The Company expects to file the Form 10-K
       within the extension period provided under Rule 12b-25 under the Securities
       Exchange Act of 1934, as amended.

       …

       The Company expects that the fourth quarter and full year 2020 result of
       operations to be included in the Form 10-K will reflect significant changes from
       the fourth quarter and full year 2019.


(Emphasis added.)

       156.    On this news, the Company’s stock price fell $3.68, or 7%, to close at $48.78 per

share on March 2, 2021, on unusually heavy trading volume.




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       157.     The final curative disclosure was after the close of trading on March 16, 2021,

when Plug Power issued a press release announcing that the Company needed to restate its prior

financial results for FY2018 and FY2019 and quarterly filings for 2019 and 2020 (“Previously

Issued Financial Statements”). Specifically, the Company stated:

       In consultation with KPMG LLP, the Company’s independent registered public
       accounting firm, management and the Audit Committee of Plug Power’s Board of
       Directors determined that the Company’s Prior Period Financial Statements need
       to be restated due to errors in accounting primarily related to several non-cash
       items, including:

               The reported book value of right of use assets and related finance
                obligations;
               Loss accruals for certain service contracts;
               The impairment of certain long-lived assets; and
               The classification of certain costs, resulting in decrease in research
                and development expense and a corresponding increase in cost of
                revenue.
       ….


(Emphasis added).

       158.     The press release added that the Company would not be able to file its 2020 Form

10-K by the March 16, 2021 deadline but was endeavoring to finalize the restatement of the

Previously Issued Financial Statements and file its 2020 Form 10-K as soon as possible.

       159.     On the same day, Plug Power filed with the SEC a Current Report on Form 8-K

which stated that the Company’s Previously Issued Financial Statements could not be relied upon

and that the Company expected to revise the accounting for the Previously Issued Financial

Statements and disclose in its 2020 Form 10-K a material weakness in its internal controls over

financial reporting. Specifically, the Form 8-K stated:

       Item 4.02 Non-Reliance on Previously Issued Financial Statements or a
       Related Audit Report or Completed Interim Review.

       (a) On March 12, 2021, management and the Audit Committee of the Board of


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Directors (the "Audit Committee") of the Company, in consultation with KPMG
LLP ("KPMG"), the Company's independent registered public accounting firm,
determined that the Company's previously issued financial statements as of and
for the years ended December 31, 2019 and 2018, and as of and for each of the
quarterly periods ended March 31, 2020 and 2019, June 30, 2020 and 2019, and
September 30, 2020 and 2019 (collectively, the "Prior Period Financial
Statements"), should no longer be relied upon due to errors in accounting
primarily relating to (i) the reported book value of right of use assets and related
finance obligations ("ROU Accounting"), (ii) loss accruals for certain service
contracts, (iii) the impairment of certain long-lived assets, and (iv) the
classification of certain expenses previously included in research and
development costs ((i) through (iv) collectively, the "Restatement Items"). In
addition, the fourth quarter and full year 2020 financial results and related
discussion included in the Company's shareholder letter furnished on the Form 8-
K filed by the Company on February 25, 2021 should no longer be relied upon.

The Company and the Audit Committee have determined that these accounting
changes will require a restatement of the Prior Period Financial Statements.

The revised accounting for the Restatement Items will change how the Company
accounts for certain transactions and items, but the revised accounting is not
expected to impact cash and cash equivalents or the economics of the Company's
existing or future commercial arrangements. The Company currently anticipates
that the primary impact of the revised accounting on the Prior Period Financial
Statements will include:

   • Adjustments on the balance sheets to reduce the carrying amount of certain
   right of use assets and finance obligations associated with leases;

   • An increase in the loss accrual relating to certain service contracts;

   • Recognition of non-cash impairment charges relating to certain long-lived
   assets, including certain right of use assets and certain fixed assets; and

   • A reclassification of certain costs resulting in a decrease in Operating
   expenses - Research and development expense and a corresponding
   increase in Cost of revenue.

In addition to the above, the Company expects to correct certain less significant
items in its previously issued financial statements and other financial data. The
Company also expects that its Form 10-K for the year ended December 31, 2020
will disclose a material weakness in its internal controls over financial reporting
arising from the Restatement Items. As such, KPMG's report on the Company's
internal control over financial reporting as of December 31, 2019 should no
longer be relied upon. The changes that will be recorded did not result from a
change in published accounting guidance during the relevant time period or any



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       override of controls or misconduct, and KPMG has not informed the Audit
       Committee of any issues related to an override of controls or misconduct.

       ….

       The Company expects to restate its financial statements as of and for the years
       ended December 31, 2019 and 2018 and for each of the quarterly periods ended
       March 31, 2020 and 2019, June 30, 2020 and 2019, September 30, 2020 and
       2019, and December 31, 2019, in its Form 10-K for the year ended December 31,
       2020. The Company will not be able to file its Form 10-K for the year ended
       December 31, 2020 by the March 16, 2021 deadline, but it is working diligently
       to finalize the restated financial statements and to file its Form 10-K as soon as
       practicable.


(Emphasis added.)

       160.    On March 17, 2021, the next trading day following Plug Power’s announcement

that the Company needed to restate its certain of its financial results, Plug Power common stock

fell $3.35 per share, or approximately 7.8%, on unusually heavy volume.

       161.    On March 31, 2021, the press widely reported that President Biden’s

Infrastructure plan would include subsidies for green energy companies such as Plug Power.

This news buoyed the market price of Plug Power common stock throughout the spring of 2021.

For example, an April 19, 2021 Evercore ISI report noted that “[g]reen infrastructure is a key

component of the U.S. infrastructure package (not included in our tallies) and many new cabinet

secretaries have expressed commitments to climate. Not only power generated from renewable

technologies such as wind and solar, and battery storage will benefit from green stimulus – other

areas such as mobility, energy efficiency, and low-carbon concepts including hydrogen and

carbon capture will also receive a major boost.”

       162.    On May 14, 2021, before the market opened, Plug Power announced that the

Company had completed the restatement of its Previously Issued Financial Statements and filed

its 2020 Form 10-K with the SEC. The restatement was consistent with the key areas previously



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addressed in the Company’s March 16th press release and coverage of President Biden’s

Infrastructure plan otherwise buoyed the stock price.

   VII.    ADDITIONAL ALLEGATIONS OF SCIENTER

       163.    As alleged herein, Defendants acted with scienter in that they knew, or recklessly

disregarded, that the public documents and statements they issued and disseminated to the

investing public in the name of the Company or in their own name during the Class Period were

materially false and misleading.

       164.    Defendants knowingly and substantially participated or acquiesced in the issuance

or dissemination of such statements and documents as primary violations of the federal securities

laws. Defendants, by virtue of their receipt of information reflecting the true facts regarding

Plug Power’s accounting for certain of the Company’s costs, including but not limited to the

misclassification of fuel and service costs as research and development expenses instead of cost

of goods sold, underestimating the loss accrual related to extended maintenance contracts, Plug

Power’s 3Q2020 proforma Adjusted EBITDA results, and Plug Power’s profitability, their

control over, or receipt or modification of Plug Power’s allegedly materially misleading

statements, were active and culpable participants in the fraudulent scheme alleged herein.

       165.    Defendants knew or recklessly disregarded the false and misleading nature of the

information that they caused to be disseminated to the investing public. The fraudulent scheme

described herein could not have been perpetrated during the Class Period without the knowledge

or complicity or, at least, the reckless disregard of the personnel at the highest levels of the

Company, including the Individual Defendants.

       166.    Defendants, because of their positions within Plug Power, made or controlled the

contents of the Company’s public statements during the Class Period. The Individual Defendants

were provided with or had access to the information alleged herein to be false or misleading prior


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to or shortly after their issuance and had the ability and opportunity to prevent their issuance or

cause them to be corrected.        Because of their positions and access to material non-public

information, the Individual Defendants knew or recklessly disregarded that the adverse facts

specified herein had not be disclosed to and were being concealed from the public and that the

positive representations that were being made were materially false and misleading. As a result,

the Individual Defendants are responsible for the accuracy of Plug Power’s corporate statements

and are therefore responsible and liable for the representations contained therein.

       167.    The magnitude and impact of Plug Power’s restatement of its financials dating

back to 2016 are indicative of Defendants’ scienter. (See ¶¶ 105-120). For example, Defendants

wrongly classified over half the research and development expenses as fuel delivery costs. (See

¶ 111). Moreover, the restated fuel delivery costs were so high that the Company’s restatement

showed a gross loss for FY2018 and the second quarter of FY2020 instead of a gain, and the

losses for the first and third quarters for FY2020 became larger gross losses by significant

multiples. (See ¶ 114). Finally, the Company’s earnings were also materially impacted as the

margins on Plug Power’s fuel cells were lower than represented and pushed earnings further into

negative territory. (See ¶ 106).

         A. The Fraud Impacted Plug Power’s Core Operations

       168.    Defendants’ false and misleading statements concern critical aspects of Plug

Power’s core operations. Plug Power’s business is focused on providing hydrogen fuel cells and

fuel to its customers.

       169.    On March 16, 2021, Plug Power announced that it needed to restate certain of the

Company’s financial statements due to accounting misclassifications, including the

misclassification of cost of goods sold as research and development expenses.

       170.    Analysts from Barclays noted the importance of Plug Power’s adjustments to


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research and development expenses. In a March 18, 2021 report, Barclays surmised that these

misclassifications occurred because “management wanted to show higher margins on the core

hardware, the fuel cells.” (Emphasis added).

       171.     The classification of fuel delivery as a research and development expense had no

explanation but for fraud or severe recklessness. On May 16, 2021, after the announcement of

the results of Plug Power’s restatement, an analyst from Barclays was perplexed by the

adjustments to research and development expenses caused by the misclassification of hydrogen

fuel, the bedrock of Plug Power’s business, stating “[t]he reclassification of R&D to fuel COGS

surprised us, as it’s unclear how fuel could’ve ended up erroneously in R&D.”

       172.     In the same May 16, 2021 report, Barclays analysts noted that due to the revisions

they cannot render positive EBITDA for 2020 or 2021, no matter the add-backs attempted by the

Company. Additionally, Barclays noted that they had “pointed to strong gross margins … as

indicators of PLUG’s R&D efforts paying off, specifically fuel cells” however, “[t]his proved

untrue” and put Plug Power’s long-term profitability goals at risk.

            B. Defendants Were Financially Motivated to Commit Fraud

       173.     Defendants acted knowingly by misclassifying certain costs from the Company’s

core business, including fuel, as a research and development expense in order to mislead

investors regarding Plug Power’s profitability.

       174.     Defendants were motivated to materially misrepresent Plug Power’s financial

statements in order to generate financing through partnership agreements and secondary public

offerings needed to execute the Company’s growth strategy and to finance the Company’s HFC

business.

       175.     On November 9, 2020, Plug Power reported that the Company’s adjusted

EBITDA margin for the third quarter of FY2020 was 19%, “approaching our target Adjusted


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EBITDA margin of 20% by 2024.” Shortly following this announcement that the Company was

close to delivering its long-term margin target, Plug Power was able to obtain a significant

amount of investment capital.

        176.     This reported progress was significant because analysts were uncertain on how to

value alternative energy companies, like Plug Power. In a November 10, 2020 report, however, a

Barclays analyst stated that, despite the opaqueness in the industry, he did not want to bet against

Plug Power since “2024 [EBITDA] targets are on track.” (Emphasis in original).

        177.     On January 6, 2021, Barclays issued another report stating that “[i]t’s tricky to

pick the right market share that fairly approximates PLUG’s Blue Sky path” given the number of

competitors in the fuel cell space, many of which are further ahead in key areas like trucks and

buses. Later that same day, Plug Power announced its partnership with SK Group. As part of

the partnership, SK Group invested $1.5 billion in Plug Power, with no restrictions on the

capital’s use.

        178.     On January 26, 2021, during a business update conference call, Plug Power once

again provided forecasts for the upcoming year, similar to its business update conference call on

January 30, 2020. Specifically, Defendant Marsh stated that “with our strong bookings, we had

been able to up our guidance for 2021 [for gross billings] to $475 million.” However, unlike the

business update from the previous year, Plug Power omitted a financial target for its adjusted

EBITDA for 2021. This resulted in an analyst inquiring Defendant Marsh about such guidance:

        Question:

        Great. Great. No, very helpful. And one last one for me, and I'll jump in the
        queue. Andy, can you provide EBITDA guidance for '21 and '24? We have the old
        '24 number, but I'm sure that's stated now.




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       Answer:

       Yes. Yes. I would keep the '24 number in that 20% range. And '21 is probably
       more geared towards focusing on how do we increase gross margins more rapidly.
       We view '21 as an investment year, obviously. And so when we talk at the end of
       February, and Paul has everything lined up, we'll be happy to share those
       numbers.

       179.   On the same day, on the heels of raising the Company’s 2021 billings targets,

Plug Power announced that it would be commencing a secondary offering with the price of its

common stock near its then all-time high. On the same day, following the announcement of the

secondary offering, J.P. Morgan issued a report highlighting the importance of Plug Power’s new

capital in effectuating the Company’s growth strategy. For example, in the report, a J.P. Morgan

analyst wrote “[a] good story keeps getting better, with PLUG capitalizing on its leadership

position in Hydrogen energy…building a balance sheet that will permit the company to execute

its growth strategy with confidence... [Plug Power’s equity offering] strengthens PLUG’s

already-formidable leadership position in the Hydrogen space…[and] helps de-risk execution in

our view.”

       180.   On February 9, 2021, Plug Power announced the completion of its secondary

public offering, netting proceeds in excess of $2 billion—the most lucrative capital raise in the

Company’s 24-year history.

       181.   On February 25, 2021, during Plug Power’s earnings call for the fourth quarter of

FY2020, the Company again did not provide any information on its adjusted EBITDA for 2020

or guidance for 2021 despite promising to do so during the business update conference call on

January 26, 2021. This led to the same analyst asking Defendant Marsh for this information;

however, Defendant Marsh opted to neither provide this data nor an explanation for its omission:

       Question:

       That's very helpful. And Paul and Andy, you both discussed margin expansion. I
       don't see adjusted EBITDA guidance or reconciliation in the investor letter. Is the



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       metric no longer going to be provided? What would a general range look like for
       '21 and even an update on the 2024 from the $1.7 billion?

       Answer:

       So I think during the call, for '21, and Paul, I'm going to let you jump in after I
       did. I mean we're targeting -- revenue and gross billings almost now are equal,
       Moses, with the acceleration of the warrants. So we're looking at $475 million
       revenue at margins in the high teens for gross margins, and expense is about 30%
       higher than the run rate of last year. Paul [Middleton], would you like to add to
       that?

       182.    Defendant Middleton did not add to Defendant Marsh’s answer on this issue.

Defendants’ refusal to disclose the Company’s adjusted EBITDA guidance, as they had routinely

done in the past, suggests Defendants knew that KPMG, the Company’s independent registered

public accounting firm, had identified accounting issues that would negatively impact the

Company’s guidance and Defendants wanted to conceal it from the market.

       183.    Accordingly, Defendants’ motivation to mispresent the Company’s profitability in

order to attract the investment capital necessary to execute Plug Power’s growth strategy is

indicative that Defendants acted with scienter.

         C. Defendants’ Insider Stock Sales Are Indicative of Scienter

       184.    Defendants Marsh and Middleton both sold Plug Power stock during the Class

Period to take advantage of Plug Power’s artificially inflated stock price.

       185.    On December 24, 2020, Defendant Middleton sold 216,667 shares of his personal

held Plug Power stock for $35.1299 per share. This sale netted Defendant Middleton proceeds

of approximately $7.6 million.

       186.    Defendant Middleton’s base salary in 2020 was $387,188. Accordingly, the $7.6

million generated by this sale were material.

       187.    Defendant Middleton’s sale was suspicious in timing. Defendant Middleton’s

December 24, 2020 sale was made pursuant to a 10b5-1 trading plan that was established just


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three months earlier in September 2020. The sale was also suspicious because to effectuate the

sale, Defendant Middleton exercised options that were not due to expire until 2028 and 2029 –

eight to nine years before their expiration. Defendant Middleton’s decision to exercise his

options eight to nine years before their expiration further shows that he knew Plug Power’s stock

price was did not reflect Plug Power’s true financial condition.

       188.    On January 19, 2021, Defendant Marsh sold 573,268 shares of his personally held

Plug Power stock at prices ranging from $62.6504 to $68.3109 per share in a series of seven

transactions. Defendant Marsh’s sale was purportedly made pursuant to a Rule 10b5-1 trading

plan that was instituted while Defendants issued materially false and misleading financial

statements.   These sales—which reduced Defendant Marsh’s holdings by 43% from 1.322

million shares to 748,680 shares—netted Defendant Marsh proceeds of approximately $37.7

million. In order to effectuate the sale of 466,668 shares or 81% of his total shares sold on

January 19, 2021, Defendant Marsh exercised options that would not expire until 2027.

Defendant Marsh’s decision to exercise his options seven years before their expiration further

shows that he knew Plug Power’s stock price was did not reflect Plug Power’s true financial

condition.

       189.    Defendant Marsh’s actions indicate that he was likely aware that KPMG had

identified Plug Power’s accounting scheme prior to selling his stock. As described above, on

January 26, 2021, just one week after Defendant Marsh’s $37.7 million stock sale, Defendants

refused to provide Adjusted EBITDA guidance for 2021 during Plug Power’s business update

conference call with analysts. The Company had routinely provided full year Adjusted EBITDA

guidance during prior years’ January business update calls as well as part of its letters to

shareholders containing the Company’s quarterly financial results throughout 2020. Instead,




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Defendant Marsh stated that Plug Power would provide such guidance in February 2021 but

ultimately never did.

       190.      Additionally, as Defendant Marsh’s salary for 2020 was $676,442, his gain of

approximately $9.8 million by selling prior to the announcement of a potential restatement was

material.

       191.      The timing and quantity of the stock sales by Defendant Marsh were also unusual.

Defendant Marsh’s sale of 573,268 shares of Plug Power stock occurred at or near the

Company’s 52-week high stock price and reduced his overall holdings in the Company by 43%.

       192.      Moreover, similar to Defendant Middleton, Defendant Marsh exercised options

that would not expire until 2027 to sell 466,668 shares or 81% of his total shares sold on January

19, 2021. By exercising options approximately 6 years early, especially after Plug Power’s stock

had increased more than 1500% in the prior 12 months, Defendant Marsh had reason to believe

that Plug Power’s stock price was worth more at the time than it would be in the future.

       193.      Defendant Marsh’s January 19, 2021 sale was also made pursuant to a 10b5-1

plan, that was in place while the Company issued materially false and misleading financial

statements. During 2020, prior to the start of the Class Period but within the restatement period,

Defendant Marsh made eight other sales pursuant to a 10b5-1 trading plan that was established

just months before the sales on March 17, 2020, generating proceeds of approximately $23.7

million. Nearly all of the stock sold by Defendant Marsh pursuant to this trading plan involved

options that were not set to expire for four years or more.

       194.      Accordingly, the fact that the Individual Defendants profited substantially from

Plug Power’s inflated stock price shows that they acted with scienter.

            D. Defendants’ SOX Certifications Are Indicative of Scienter

       195.      Defendants also repeatedly represented to investors that Plug Power’s financial


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statements were adequate and that they were complying with their obligations under the

Sarbanes-Oxley Act (“SOX”). Defendants made these representations notwithstanding the fact

that they knew that Plug Power was not properly accounting for the Company’s research and

development expenses.

        196.   For example, Defendants represented that “the financial statements and other

financial information included in this report, fairly present in all material respects the financial

condition, results of operations and cash flows of the registrant as of, and for, the periods

presented in this report.”

        197.   The fact that the Defendants reviewed Plug Power’s financial reports is highly

indicative that they reviewed the relevant accounting standards at issue but purposefully ignored

them.

        198.   Accordingly, Defendants’ disclosure that they regularly reviewed Plug Power’s

financial statements yet needed to restate the Company’s financial statements due to accounting

misclassifications indicates that Defendants acted with scienter.

   VIII. LOSS CAUSATION/ECONOMIC LOSS

        199.   During the Class Period, as detailed herein, Plug Power’s common stock was

artificially inflated due to Defendants’ false and misleading public statements. When Defendants’

prior misrepresentations were disclosed and became apparent to the market, the price of Plug

Power common stock fell as the prior artificial inflation came out.

        200.   As a result of their purchases of Plug Power common stock during the Class

Period, Lead Plaintiff and the other Class members suffered economic loss, i.e., damages, under

the federal securities laws.

        201.   The declines in the price of Plug Power’s common stock after the corrective

disclosures on March 2, 2021, and March 16, 2021 were a direct result of Defendants’


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misrepresentations being revealed to the market.

       202.    Defendants’ materially false and misleading statements relate to the Company’s

effectiveness of its internal controls, overstated research and development expenses, understated

loss accrual related to certain service contracts, and the material negative impacts those

accounting misclassifications had on the Company and its reported profitability.

       203.    The corrective disclosure on March 2, 2021, revealed that Plug Power would not

be timely filing its 2020 Form 10-K because the Company was completing a “review and

assessment of the treatment of certain costs with regards to classification between research and

development versus Costs of Goods Sold, the recoverability of right of use assets associated with

certain leases, and certain internal controls over these and other areas.” The Company stated that

“[i]t is possible that one or more of these items may result in charges or adjustments to current

and/or prior period financial statements.”

       204.    After the adverse March 2, 2021 announcement, the Company’s stock price fell

$3.68, or 7%, to close at $48.78 per share on March 2, 2021, on unusually heavy trading volume.

       205.    After the March 2, 2021 partial disclosure, Plug Power common stock remained

artificially inflated because Defendants did not fully reveal the extent of the Company’s

restatement. Specifically, Plug Power concealed that the upcoming restatement impacted not

only the Company’s FY2019 and certain of its FY2020 financial statements, but also its FY2018

financial statements. Plug Power also concealed the material negative impact the restatements

had on the Company’s profitability.

       206.    The corrective disclosure on March 16, 2021, revealed that Plug Power’s

Previously Issued Financial Statements for FY2018 and FY2019 and its quarterly filings for

2019 and 2020 needed to be restated primarily for reclassification of research and development




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expenses, increasing cost of revenue, and underestimating loss accruals for certain service

contracts. The corrective disclosure further divulged that the Company’s Previously Issued

Financial Statements could not be relied upon and that the Company expected to describe in its

2020 Form 10-K a material weakness in its internal controls over financial reporting.

       207.    On March 17, 2021, the next trading day following Plug Power’s announcement

that the Company needed to restate its financial results, Plug Power common stock fell $3.35 per

share, or approximately 7.8%, on unusually heavy volume.

       208.    The dramatic decline in the price of Plug Power securities after the corrective

disclosures on March 2, 2021 and March 16, 2021 were direct results of Defendants’

misrepresentations and omissions being revealed to investors and the market.

       209.    During the Class Period, the Plug Power common stock traded as high as $75.49

per share, and it traded at $52.46 just prior to the March 2 disclosure. Over the next few months,

as the truth continued to emerge, Plug Power’s stock price dropped to $21.96 on May 13, 2021, a

decline of over 58% since March 1, 2021.

       210.    The adverse consequences of the Company’s disclosures, including the decline in

Plug Power’s stock price, and the adverse impact of those circumstances on the Company’s

business going forward, were entirely foreseeable to Defendants at all relevant times.

Defendants’ conduct, as alleged herein, proximately caused foreseeable losses and damages to

Lead Plaintiff and members of the Class.

       211.    The timing and magnitude of the price decline in Plug Power’ stock price negate

any inference that the loss suffered by Lead Plaintiff and the other Class members was caused by

changed market conditions, macroeconomic or industry factors or Company-specific facts

unrelated to Defendants’ statements. As set forth above, the Company’s failure to maintain




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effective controls over its financial reporting and the associated accounting misclassifications

were not only material but also triggered foreseeable and grave consequences for the Company.

         212.   Thus, the economic loss, i.e., damages suffered by Lead Plaintiff and the other

Class members, was a direct, foreseeable, and proximate result of the fraudulent scheme being

revealed to investors and to the market.

         213.   The market’s reaction following Plug Power’s false and misleading statement also

shows that investors were misled by the Company’s misstatements.

         214.   On November 7, 2020, following the disclosure of Company’s materially

misleading 3Q2020 financial results, Plug Power common stock increased $1.45, or 7.6% to

close at $20.31 on November 7, 2020.

         215.   On November 18, 2020, following the filing of Company’s November Prospectus

containing materially misleading financial information, Plug Power common stock increased

$0.24 to close at $23.33 on November 18, 2020.

         216.   On January 28, 2021, following the filing of Company’s January Prospectus

containing materially misleading financial information, Plug Power common stock increased

$0.86 to close at $65.28 on January 28, 2021.

         217.   On February 25, 2021, following the disclosure of the Company’s materially

misleading 4Q2020 and FY2020 financial results, Plug Power stock dropped $6.84 to close at

$43.34, buoyed from a steeper decline by Defendants’ false and misleading statements to the

market.

   IX.      INAPPLICABILITY OF STATUTORY SAFE HARBOR

         218.   The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the materially false and misleading statements alleged in

this Complaint. The statements alleged to be false and misleading all relate to historical facts of


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existing conditions and were not identified as forward-looking statements. To the extent any of

the false statements alleged herein may be characterized as forward-looking, they were not

adequately identified as “forward-looking” statements when made and were not accompanied by

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly “forward-looking” statements. Alternatively, to

the extent that the statutory safe harbor would otherwise apply to any statement pleaded herein,

Defendants are liable for those false forward-looking statements because, at the time each of

those forward-looking statements was made, the speaker knew the statement was false or the

statement was unauthorized or approved by an executive officer of Plug Power who knew that

those statements were false.

   X.      PRESUMPTION OF RELIANCE: FRAUD ON THE MARKET

        219.   Lead Plaintiff is entitled to a presumption of reliance on Defendants’

misrepresentations of material facts and omissions pursuant to the fraud-on-the-market doctrine.

        220.   At all relevant times, the market for Plug Power’s common stock was an efficient

market for the following reasons, among others:

               (a)      Plug Power met the requirements for listing, and was listed and actively

          traded on the NASDAQ, a highly efficient market;

               (b)      As a regulated issuer, Plug Power filed periodic public reports with the

          SEC;

               (c)      Plug Power regularly communicated with public investors via means of

          established    market   communication      mechanisms,       including   through   regular

          dissemination of press releases on the nation’s newswire services and through other

          wide-ranging public disclosures, such as communications with the financial press,

          securities analysts, and other similar reporting services;


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                 (d)    Plug Power was followed by numerous securities analysts employed by

            brokerage firms who wrote reports about the Company, and these reports were

            distributed to the sales force and certain customers of their respective brokerage firms.

            These reports were publicly available and entered the public marketplace; and

                 (e)    the market for Plug Power securities promptly digested current

            information regarding Plug Power from all publicly available sources and reflected

            such information in Plug Power’s share price.

          221.   All purchasers of Plug Power common stock during the Class Period relied on the

same information disseminated by Defendants as reflected in the market price of Plug Power

common stock and suffered similar injury through their purchases at artificially inflated prices.

    XI.      CLASS ACTION ALLEGATIONS

          222.   Lead Plaintiff brings this action as a class action pursuant to Rules 23(a) and

(b)(3) of the Federal Rules of Civil Procedure on behalf of all persons and entities that purchased

or otherwise acquired Plug Power’s common stock during the Class Period, November 9, 2020

through March 16, 2021, inclusive, and were damaged thereby. Excluded from the Class are (a)

Defendants; (b) members of the immediate family of each Individual Defendant; (c) any person

who was an officer or director of the Company, at all relevant times; (d) any firm, trust,

corporation, officer, or other entity in which any Defendant has or had a controlling interest; (e)

any person who participated in the wrongdoing alleged herein; and (f) the legal representatives,

heirs, agents, affiliates, beneficiaries, successors-in-interest, or assigns of any such excluded

party.

          223.   The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits

to the parties and the Court. Throughout the Class Period, Plug Power’s common shares were


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actively traded on the NASDAQ. While the exact number of Class members is unknown to Lead

Plaintiff at this time and can only be ascertained through appropriate discovery, Lead Plaintiff

believes that there are at least hundreds or thousands of members in the proposed Class.

Thousands of shares of Plug Power’s common stock were traded publicly during the Class

Period on the NASDAQ. Record owners and other members of the Class may be identified from

records maintained by Plug Power or its transfer agent and may be notified of the pendency of

this action by mail, using the form of notice similar to that customarily used in securities class

actions.

       224.    Lead Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       225.    Lead Plaintiff will fairly and adequately protect the interests of the members of

the Class and has retained counsel competent and experienced in class and securities litigation.

Lead Plaintiff has no interests that conflict with those of the Class.

       226.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. The questions

of law and fact common to the Class include: (1) whether Defendants violated the Exchange Act;

(2) whether Defendants issued false or misleading statements; and (3) the extent to which

members of the Class have sustained damages.

       227.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy because, among other things, joinder of all members of the Class

is impracticable. Furthermore, as the damages suffered by individual Class members may be

relatively small, the expense and burden of individual litigation makes it impossible for members




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of the Class to individually redress the wrongs done to them.

          228.   There will be no difficulty in the management of this action as a class action.

                                              COUNT I

    FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT AND RULE
                   10b-5 PROMULGATED THEREUNDER
         (AGAINST THE COMPANY AND INDIVIDUAL DEFENDANTS)

          229.   Lead Plaintiff repeats and re-alleges each and every allegation contained above in

¶¶ 1-228 as if fully set forth herein and further alleges as follows:

          230.   This Count is asserted pursuant to Section 10(b) of the Exchange Act and Rule

10b-5 promulgated thereunder by the SEC, on behalf of Lead Plaintiff and members of the Class

against the Company and the Individual Defendants.

          231.   During the Class Period, the Company and the Individual Defendants carried out

a plan, scheme and course of conduct which was intended to and, throughout the Class Period,

did: (a) deceive the investing public, including Lead Plaintiff and other Class members, as

alleged herein; and (b) cause Lead Plaintiff and other members of the Class to purchase Plug

Power common stock at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each Individual Defendant, took the actions set forth

herein.

          232.   The Company and the Individual Defendants (a) employed devices, schemes, and

artifices to defraud; (b) made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading; and (c) engaged in acts, practices, and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

common stock in an effort to maintain artificially high market prices for Plug Power’s common

stock in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

All Defendants are sued either as primary participants in the wrongful and illegal conduct


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charged herein or as controlling persons as alleged below.

          233.   The Company and Individual Defendants, individually and in concert, directly

and indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,

engaged and participated in a continuous course of conduct to conceal adverse material

information about Plug Power’s financial well-being, operations, and prospects, as specified

herein.

          234.   During the Class Period, the Company and the Individual Defendants made the

false statements specified above, which they knew or recklessly disregarded to be false and

misleading in that they contained misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

          235.   The Company and the Individual Defendants had actual knowledge of the

misrepresentations and omissions of material fact set forth herein, or recklessly disregarded the

true facts that were available to them. The Company and the Individual Defendants engaged in

this misconduct to conceal Plug Power’s true condition from the investing public and to support

the artificially inflated prices of the Company’s common stock.

          236.   As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Plug

Power’ common stock was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public




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statements by Defendants during the Class Period, Lead Plaintiff and the other members of the

Class acquired Plug Power securities during the Class Period at artificially high prices and were

damaged thereby.

       237.     Lead Plaintiffs and the Class would not have purchased or otherwise acquired the

Company’s common stock at the prices they paid, or at all, had they been aware that the market

prices for Plug Power common stock had been artificially inflated by the Company and the

Individual Defendants’ fraudulent course of conduct.

       238.     As a direct and proximate result of the Company’s and the Individual Defendants’

wrongful conduct, Lead Plaintiff and the other members of the Class suffered damages in

connection with their respective purchases and sales of the Company’s common stock during the

Class Period.

       239.     By virtue of the foregoing, the Company and the Individual Defendants violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

                                             COUNT II

           FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
                  (AGAINST THE INDIVIDUAL DEFENDANTS)

       240.     Lead Plaintiff repeats and re-alleges each and every allegation contained above in

¶¶ 1-228 as if fully set forth herein and further alleges as follows:

       241.     This Count is asserted pursuant to Section 20(a) of the Exchange Act against the

Individual Defendants on behalf of Lead Plaintiff and members of the Class.

       242.     As alleged above, Plug Power is liable to Lead Plaintiff and members of the Class

based on the materially false and misleading statements and omissions as set forth above,

pursuant to Section 10(a) of the Exchange Act.

       243.     Throughout the Class Period, the Individual Defendants were controlling persons



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of Plug Power within the meaning of Section 20(a) of the Exchange Act as alleged herein, and

culpable participants in the fraud alleged herein.

        244.    By virtue of their high-level positions and their ownership and contractual rights,

participation in, and/or awareness of the Company’s operations and intimate knowledge of the

Company’s accounting and actual performance, the Individual Defendants had the power to

influence and control and did influence and control, directly or indirectly, the decision-making of

the Company, including the content and dissemination of the various statements which Lead

Plaintiff contends are false and misleading. The Individual Defendants were provided with or

had unlimited access to copies of the Company’s financial statements, letters to shareholders,

reports, press releases, public filings, and other statements alleged by Lead Plaintiff to be

misleading prior to and/or shortly after these statements were issued and had the ability to

prevent the issuance of the statements or cause the statements to be corrected.

        245.    In particular, the Individual Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, had the power to control or influence,

the decision-making of Plug Power, including the content of its financial statements and other

public statements.

        246.    Given their individual and collective responsibilities for managing Plug Power

throughout the Class Period, the Individual Defendants were regularly presented to the market as

the individuals responsible for the Company’s day-to-day business and operations, as well as its

strategic direction.

        247.    As set forth above, the Individual Defendants acted knowingly and intentionally,

or in such a deliberately reckless manner as to constitute willful fraud and deceit upon Lead

Plaintiff and other members of the Class who purchased Plug Power common stock during the




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Class Period.

       248.     Each of the Individual Defendants culpably participated in some meaningful sense

in the fraud alleged herein. By reason of the foregoing, and by virtue of their position as

controlling persons, the Individual Defendants are liable to Lead Plaintiff and members of the

Class for violations of Section 20(a) of the Exchange Act.

   XII.      PRAYER FOR RELIEF

       WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:

       (A)      Determining that this action is a proper class action and certifying Lead Plaintiff

as a class representative under Rule 23 of the Federal Rules of Civil Procedure;

       (B)      Awarding damages in favor of Lead Plaintiff and the other Class members against

all Defendants, jointly and severally, for all damages sustained as a result of Defendants’

violations of the Exchange Act, in an amount to be proven at trial, including prejudgment interest

thereon;

       (C)      Awarding Lead Plaintiff and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

       (D)      Granting such other and further relief as the Court deems just and proper.




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   XIII. JURY TRIAL DEMANDED

      Lead Plaintiff hereby demands a trial by jury.

DATED: October 6, 2021                     Respectfully submitted,

                                           BERNSTEIN LIEBHARD LLP

                                        By: /s/ Michael S. Bigin

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                                           Proposed Class




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2021 I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the e-mail

addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List.



                                              /s/ Michael S. Bigin
                                              MICHAEL S. BIGIN




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